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                                                                   TIME     :   04/27/2015 09:14
                                                                   NAME     :   FXOSF
                                                                   FAX      :   8017942710
                                                                   TEL      :   8017942708
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                            Office of the Governor


State of Utah
OARY R. HERBERT
     Governor

 SPENCER .1. COX
fjeutenanl Governor


          February 4, 2016

           Robert Brown
           PO Box 511223
           Salt Lake City UT 84151

           Dear Robert:

           Thank you for your letter to the Office of the Governor. I have been asked to
           respond on behalf of the Governor.

           Our office appreciates hearing from constituents and your comments and
           opinion regarding this issue.have be.en noted. We have received your
           documents over the last se{,~ratlfift1ol'.llths, even for:wardi.ng_them to the Utah
           Labor Commissioh for review::)De,splte many attempts, we have been unable to
           reach you via telephone. If you are intere~ted in discussing these concerns with
           the Office of the Governor, you rnay reach a member of our staff at (801) 538-
            1000.

            Thank you for taking time to contact us regarding this matter.

            Sincerely,


                ~~C/(
            Austin Cox
            Constituent Services




                      'Utah State Capitol, Suite 200 • P.O. Box 142220 • Salt Lake City, Utah 84114-2220 •Telephone (801) 538-1000
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(https://www.cornell.edu/search/)

    U.S. Code (/uscode/text) >Title 18 (/uscode/text/18) > Part I
    (/uscode/text/18/part-I) ) Chapter 1 (/uscode/text/18/part-l/chapter-1) >§ 3      U.S. Code
                                                                                      Toolbox
  18 U.S. Code§ 3 -                                                                   Wex: Criminal Law: Overview
                                                                                      (/wex/criminal_law)
  Accessory after the fact                                                            Download the PDF (1 pgs) ~
                                                                                      (https://www.law.cornell.edu/uscode/pdf/u~
     Current through Pub. L. 114-38 (http://www.gpo.gov/fdsys/pkg/PLAW-
                                                                                      Title 18 USC, RSS Feed
     114publ38/html/PLAW-114publ38.htm). (See Public Laws for the current
                                                                                      (https://www.law.cornell.edu/uscode/rss/us
     Congress (http://thomas.loc.gov/home/Legislative Data. php?
                                                                                      Table of Popular Names (/topn)
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           Whoever, knowing that an offense against the United States has
        been committed, receives, relieves, comforts or assists the offender
        in order to hinder or prevent his apprehension, trial or punishment,
        is an accessory after the fact.

           Except as otherwise expressly provided by any Act of Congress,
        an accessory after the fact shall be imprisoned not more than one-
        half the maximum term of imprisonment or (notwithstanding section
        3571) fined not more than one-half the maximum fine prescribed for
        the punishment of the principal, or both; or if the principal is
        punishable by life imprisonment or death, the accessory shall be
        imprisoned not more than 15 years.

        (June 25, 1948, ch. 645, 62 Stat. 684
        (http://uscode.house.gov/statviewer. htm?volume""~2&page=684);
        Pub. L. 99-646, § 43 (http://thomas.loc.gov/cgi-bin/bdquery/L?
        d099:./listlbd/d099pl.lst:646(Public_Laws)), Nov. 10, 1986, 100
        Stat. 3601 (http://uscode.house.gov/statviewer. htm?
        volume=100&page=3601); Pub. L.101-647, titleXXXV, §3502
        (http://thomas.loc.gov/cgi-bin/bdquery/L?
        d101:./listlbd/d101pl.lst:647(Public_Laws)), Nov. 29, 1990, 104
        Stat. 4921 (http://uscode.house.gov/statviewer. htm?
        volume=104&page=4921); Pub. L. 103-322, title XXXlll
        (http://thomas.loc.gov/cgi-bin/bdquery/L?
        d103:./listlbd/d103pl.lst:322(Public_Laws)), §§ 330011(h), 330016
        (2)(A), Sept. 13, 1994, 108 Stat. 2145
        (http://uscode.house.gov/statviewer. htm?vol~1me=108&page=2145),
        2148.)



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     contains links to or references Lil.
           Case 2:17-cv-00948-CW-DBP Document 12 Filed 03/20/18 Page 10 of 14

''




                                     m mike@mikeforutah.com




     PRESS INQUIRIES:

     Melanie - 480.862.9094
     or Austin - 801.631.3256
     Campaign Office - 801.662.8264

     Mike for Utah
     193 West 2100 South
     South Salt Lake, UT 84115




     Comments? Questions? Want to Volunteer?
     Use   the contact form, and we'll be in touch!


     Your Name
                                                       Case 2:17-cv-00948-CW-DBP Document 12 Filed 03/20/18 Page 11 of 14




BALLOT                                                                                           'The ~::ricy(:;opeciia of /\rnerici:ln Polii.l!l:anate to Ballotpedia



         Want to receive updates from Ballotpedia?                                                         Full Name       Email Addres SIGN UP FOR BALLOTPEDIA EMAILS!

Utah Oath of Office Amendment (2016)
  .   . ..   . • ., .......... , ..   ~,.   ..,   ..     ·•·.   ....   "   .• '.,,......... .•    "¥' ..




The Utah Oath of Office Amendment, HJR 8 is on the
                                                                                                                                      Contents                Oath of Office
November 8, 2016 ballot in Utah as a legislatively referred
constitutional amendment. The measure, upon voter                                                                      : 1 Text of measure                    Amendment
approval, would make minor changes to the oath of office                                                                      1.1 Constitutional changes!
that each elected and appointed state official must take and                                                           i 2 Path to the ballot
subscribe to before entering into his or her respective office.                                                               2.1 House vote
(1]                                                                                                                           2.2 Senate vote
                                                                                                                       i
                                                                                                                       ! 3 See also
The current oath of office reads: "I do solemnly, swear (or                                                            ; 4 External links
affirm) that I will support, obey and defend the Constitution                                                          ! 5 References                       Type   Constitutional
of the United States and the Constitution of this State, and
that I will discharge the duties of my office with fidelity."                                                                                                      amendment
                                                                                                                                                            Origin Utah Legislature
The proposed oath of office, which would be enacted v:v:ith voter approval of HJR 8, reads: "I do
solemnly swear (or affirm) that I will support, obey, and defend the Constitution of the United                                                             Topic Constitutional
States and the Constitution of the State of Utah, and that I will discharge the duties of my office                                                               language on the
with fidelity."                                                                                                                                                   ballot
                                                                                                                                                            Status On the ballot
The amendment changing the oath was proposed by Rep. Kraig Powell (R-54). He explained the
proposed changes, saying, "Please remember that the point of the bill was that the word 'Utah'
is not currently in the oath of office." 121

Text of measure

Constitutional changes
                           See also: Article IV, Utah Constitution
The proposed amendment would amend Section 10 of Article IV of the Utah Constitution. The following struck through tex
would be deleted and underlined text would be added by the proposed measure's approval: 111

      All officers made elective or appointive by this Constitution or by the
      laws made in pursuance thereof, before entering upon the duties of
      their respective offices, shall take and subscribe the following oath or
      affirmation: "I do solemnly swear (or affirm) that I will support, obey,
      and defend the Constitution of the United States and the Constitution
      of tAi& the State of Utah, and that I will discharge the duties of my
      office with                           fidelity.~( 3 J



 Path to the....................................
                   ballot
                      Case 2:17-cv-00948-CW-DBP Document 12 Filed 03/20/18 Page 12 of 14

                                                                                                                                                                   -."'""'.




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                                                                                                                                         Monday, 2& Januaty 2016



                                                                                                        Home         Utah Petition       Federal Petition
    The Oath of Office



    The Senators and Representatives before mentioned, and the Members of the several State Legislatures, and all executive and judicial Officers, both
    of the United States and of the several States, shall be bound by Oath or Affirmation, to support this Constitution
    --the Constitution of the United States, Article VI




    It is impossible to be bound by Oath without a penalty for breaking the Oath, just as it is impossible to be bound by a contract or law without a penalty
    for breaking the law or Contract.

    In order to become more compliant with Article VI of the Constitution of the United States, the supreme law of the land, it is proposed that we use the
    following wording for the Oath of Office required of all Utah state legislators and all Utah state judicial officers:

    I do solemnly swear (or affirm) under penalties of perjury misdemeanors. high crimes and treason, that I will promote, preserve, protect and defend
    the supreme law of the land, this Constitution of the United States against all enemies or opposers, foreign and domestic; that I will bear true faith and
    allegiance to the same; that I take this obligation freely, without any mental reservation or purpose of evasion; and that I will support the Utah
    Constitution and Utah laws in pursuance to the Constitution of the United States and will well and faithfully discharge the duties of the office on which I
    am about to enter, so help me God."




                                       Candidate Interviews with Loy Brunson 2010




                                                                For more Information please contact:
                                                                    arlan@theoathOfolflce.com

                                                                    Sita created by EZ Site Help
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  76-8-110                          UT!}H CRIMINAL CODE


                    (B) the chief clerk of the House of Representatives, for a
                  legislator that is a representative; or                                                 J
                                                                                                      'j;;
                    (C) the lieutenant governor, for all other regulated officehold-                     ;, Act of officto.
                  ers.                                                                                · •;, Defendnnt.':-; 1'1>11' i!'\11111
                                                                                                      ·. /;although lw 111:11 h:11·,. ,.,
              (ii) 'l'he lieutenant governor, the. secretary of the Senate and th                      . / rized nl't h.v d1s11·il•11t111i.:
            chief clerk of the House of Representatives shall ensure that blan.~
            financial disclosure forms are available on the Internet and at their                     ·~ :~:
            offices.
                                                                                                      ·w
         (d) Financial disclosure forms that are filed under the procedures and                        i\.            Utah Law lt<•vit•w,
       requirements of this section shall be made available to the public:                            . }; Misdemennor~: H1·1110•V1
               (i) on the Internet; and                                                               ; \', Office in Utah and i \H
                                                                                                        \;, Utah L. Rev fili:,
               (ii} at the office wl).ere the form was filed.                                             .,
         (e) This section's requirement to disclose a confhct of interest does not                        ;


       prohibit a regulated officeholder from voting or acting on any matter.                          ' i 76-8-202.                  Off
     (5) A regulated officeholder who violates the requirements of Subsection (2l                                                    "ins
  is guilty of a class B misdemeanor.
                                                                                                       '. !-·•         ~public serv:•n
    History: C. 1953, 76-8-109, enacted by L.
                                                                                                      ; frf· action 1s con te m p
                                                      Amendment Notes. - The 2010 amend-              " t#; Virtue of his otric
  1973, ch. 196, § 76-8-109; 1995, ch. 191, § l;    ment, effective March 8, 2010, rewrote the
  2010, ch. 12, § 5.                                section.                                           •·.~~·been made puhl1<
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                                  COLLATERAL REFERENCES                                               :' ~-~··            transaction)
                                                                                                      .· 9                information
    Utah Law Review. - Eligibility of Public        Politics, and Constitutional· Policy, 1988 Utah       !'                (2\  specu'
  Officers and Employees to Serve in the State      L. Rev. 295 (1988).                                    ··                (3) know'
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  Legislature: An Essay on Separation of Powers,
                                                                                                                        History: C. 195;.
  76-8-110.         Peace officer prohibited from acting as compen·                                                   1973, ch. J!J6, ~ 76

                   sated coilection ;:~.gent for 90Uection agencies or
                   creditors.                     ·
    ( 1) A peace officer may not have any interest in any collection agency or act
  as a compensated collection agent for any creditor or collection agency, .. ·
    (2) A person that violates this section is guilty o,f a class C misdemeaij~~\
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xi   76-8-201.
                                            PART2
                                  ABUSE OF OFFIC
                    Official misconduct-Unauthorized acts.Q'
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                                                                                                                                (c) ha
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                   ure of duty.                                                                                               ·(e)  k·
       A public servant is guilty of a class B misdemeanor if, with an
     benefit himself or another or to harm another, he knowingly. co .
     unauthorized act which purports to be an act of his office, or knowingly
     from performing a duty imposed on him by law or clearly iuheren
     nature of his office.

       History: C. 1953, 76•8·201, enacted by L.
                   *
     1973, ch. 196, 76-8-201.

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           76-8-110                           UTl}.H CRIMINAL CODE

                             (B) the chief" clerk of the House of Representatives, for a
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                           legislator that is a representative; or                                                            i

                             (C) the lieutenant governor, for all other regulated officehold-                            : l': Act of offic<:·
                           ers.                                                                                          ', t.;, Defendnnt.s t'o!I\ ir! Hl/1
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                       (ii) The lieutenant governor, the secretary of the Senate and th                                       .,' riied ncl b,v disinl111l111.~
                     chief clerk of the House of Representatives shall ensure that blan~
                     financial disclosure forms are available on the Internet and at their                               )~
                     offices.                                                                                            ;: w-
                  (d) Financial disclosure forms that are filed under the procedures and                                   !\. Utah Law lh•vi(·w.
                requirements of this section shall be made available to the public:                                      . '(Misdemeanor,;: H1·11"'"'
                        (i) on the Internet; and                                                                          ' :rOffice in lit.ah anti 1 l1t
                                                                                                                           \ Utah L. Rev. (\lie>
                        (ii) at the office where the form was filed.
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                  (e) This section's requi~ement to disclose a confhct of interest does not
                prohibit a regulated officeholder from voting or acting on any matter.                                    . { 76-8-202.                    Off
              (5) A regulated officeholder who violates the requirements of Subsection (2)                                                            "j HS
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           is guilty of a class B misdemeanor.                                                                            ·. \:; Apublic serv:111
             History: C. 1953, 76-8-109, enacted by L.
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                                                                Amendment Notes. - The 2010 amend-                       ., WtiVirtue of his otfa
           1973, ch. 196, !\ 76-8-109; 1995, ch. 191, ~ l;    ment, effective March 8, 2010, rewrote the
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                                            COLLATERAL REFERENCES                                                        :· •;·.           transaction,
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           Officers and Employees to Serve in the State       L. Rev. 295 (1988).                                        ''..;h'.·,
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           Legislature: An Essay on Separation of Powers,
                                                                                                                                         History: C. 1H5:·
           76-8-110.        Peace officer prohibited from acting as compen·                                                            1973, ch. H.16, ~ 7H
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                           creditors.                  ·
             ( 1) A peace officer may not have any interest. in any collection agency or act
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             (2) A person that violates this section is guilty o.f a class C misdemea~%
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                                           ABUSE OF OFFIC                                                                                      (d) ex
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            76-8-201.        Official misconduct - Unauthorized acts.                                                                           's offic
                            ure of duty.                                                                                                      '.'(e) k·

              A public servant is guilty of a class B misdemeanor if, with an ·,
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